MELANIECase   5:15-cr-00093-JGB Document 150 Filed 11/09/18 Page 1 of 1 Page ID #:1049
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ENRIQUE MARQUEZ, JR.                                                     127,&(2)0$18$/),/,1*
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ZLWK*HQHUDO2UGHUDQG/RFDO5XOHWKHIROORZLQJGRFXPHQWVRULWHPVZLOOEHPDQXDOO\
          ILOHG/LVW'RFXPHQWV
         Joint Status Report (Under Seal Pursuant to the Court's October 16, 2018 Order) and Proposed Order


          'RFXPHQW'HVFULSWLRQ
          G      $GPLQLVWUDWLYH5HFRUG
          G      ([KLELWV
          G      ([3DUWH$SSOLFDWLRQIRUDXWKRUL]DWLRQRILQYHVWLJDWLYHH[SHUWRURWKHUVHUYLFHVSXUVXDQWWRWKH
                 &ULPLQDO-XVWLFH$FW>VHH/RFDO&LYLO5XOH'RFXPHQWVWREHH[FOXGHGK@
          ✔
          G      2WKHU - see list above


          5HDVRQ
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          G      8QGHU6HDO
          G      ,WHPVQRWFRQGXFLYHWRHILOLQJLHYLGHRWDSHV&'520ODUJHJUDSKLFFKDUWV
          G      (OHFWURQLFYHUVLRQVDUHQRWDYDLODEOHWRILOHU
          G      3HU&RXUWRUGHUGDWHG
          G      0DQXDO)LOLQJUHTXLUHGreason


November 9, 2018                                                   Melanie Sartoris
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1RWH )LOHRQH1RWLFHLQHDFKFDVHHDFKWLPH\RXPDQXDOO\ILOHGRFXPHQWV
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